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Honorable Theresa L. Fricke

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Jun 11, 2020

CLERK U.S. DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON AT TACOMA
BY DEPUTY

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON

AT TACOMA
UNITED STATES OF AMERICA, CASE NO. MJ20-5142
Plaintiff, COMPLAINT FOR VIOLATION
Vv.
BRIAN BUCKINGHAM, 18 U.S.C. § 2251 (a), (e)
18 U.S.C. § 2252(a)(2), (b)(1)
Defendant.

BEFORE United States Magistrate Judge Theresa L. Fricke, Tacoma, Washington.
The undersigned complainant, being duly sworn, states:

COUNT 1
Production of Child Pornography

Between in or about January 2016 and continuing to in or about June 2020, at
Neah Bay, within the Western District of Washington, and elsewhere BRIAN
BUCKINGHAM, employed, used, persuaded, induced, enticed, and coerced MV1, a
minor, to engage in sexually explicit conduct, and attempted to do so, for the purpose of
producing a visual depiction of such conduct and transmitting any live visual depiction of
such conduct, knowing or having reason to know that such visual depiction would be
transported and transmitted using any means or facility of interstate and foreign
commerce, such visual depiction was transported and transmitted using any means or

facility of interstate and foreign commerce and in and affecting interstate and foreign

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commerce, and such visual depiction was produced using materials that had been mailed,
shipped, and transported in interstate and foreign commerce.
All in violation of Title 18, United States Code, Section 2251 (a), (e).

COUNT 2
Distribution of Child Pornography

Between in or about January 2020 and continuing to in or about June 2020, at
Neah Bay, within the Western District of Washington, and elsewhere, BRIAN
BUCKINGHAM, did knowingly distribute, and attempt to distribute, visual depictions,
the production of which involved the use of minors engaging in sexually explicit conduct,
and the visual depictions were of such conduct, using any means and facility of interstate
and foreign commerce and which images had been mailed and shipped and transported in
and affecting interstate and foreign commerce by any means, including by computer.

All in violation of Title 18, United States Code, Section 2252(a)(2), b)(1).

I, Colleen B. Sanders, being first duly sworn on oath, depose and say:

INTRODUCTION

l. Iam a Special Agent with the Federal Bureau of Investigation (FBI), and
have been so employed for over eighteen years. I am currently assigned to the Poulsbo
Resident Agency of the Seattle Division. While employed as an FBI Agent, I have led
investigations and/or participated in investigations of a wide array of federal criminal
violations, including violent crimes, bank robbery, fugitives, drug crimes, organized
crime, crimes against children (including human trafficking, sexual exploitation, child
abuse and child sexual abuse), crimes occurring in Indian Country, and crimes in the
special maritime and territorial jurisdiction of the United States. I have completed sixteen
weeks of training at the FBI academy, including legal classes, investigative techniques,
evidence preservation and collection, financial related crimes, and computer related
crimes.

2. In my time as a law enforcement officer, I have investigated cases

involving the sexual abuse of minors. Specifically, as a result of my training and

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experience, I am familiar with federal criminal laws relating to child exploitation and
child pornography including violations of Title 18 United States Code Sections 2251,
2252, and 2252A. In addition to the experience I gained in working investigations of
violations of federal criminal laws, I have attending trainings in child abuse, internet
crimes against children, sexual assault, domestic violence, domestic violence
strangulation, and training specific to death investigations. Furthermore, I am a member
of the FBI Seattle Evidence Response Team and have attended several trainings on
evidence recovery.

3. The information in this affidavit is based on my personal participation in
this investigation and information provided to me by other agents, officers, and
witnesses, and information gained through my training and experience and the training
and experience of other investigators involved in this investigation. Because this affidavit
is being submitted for the limited purpose of establishing probable cause, I have not
included each and every fact known to me concerning this investigation. I have set forth
only the facts that I believe are relevant to a fair determination of probable cause to
believe that BRIAN BUCKINGHAM has committed the crimes of Production of Child
Pornography in violation of Title 18, United States Code, Section 2251(a), (e), and
Receipt or Distribution of Child Pornography in violation of Title 18, United States
Code, Section 2252(a)(2).

4. Insofar as I or other law enforcement officers have identified individuals in
this affidavit, those identifications are made in good faith based on comparisons with
Washington State DOL photographs, physical and electronic surveillance, as well as
photographs maintained in law enforcement databases. In the following paragraphs, I
describe communications between various individuals. Except where specifically
indicated with quotation marks, the descriptions are summaries of the conversations and
are not intended to present a verbatim recitation of the words used by the participants.

When the statements of others are set forth in this affidavit, they are set forth in substance

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and in part. Insofar as I have included event times in this affidavit, those event times are
approximate.
5. This Complaint and affidavit are being presented electronically pursuant to
Federal Rules of Criminal Procedure Rule 4.1.
PROBABLE CAUSE

6. On or about February 17, 2020, the Electronic Service Provider Discord
Inc. (hereinafter, “Discord’”)' became aware of image(s) containing depictions of minors
engaged in sexually explicit conduct had been uploaded onto the internet by a subscriber.
Discord reported that the image of suspected child pornography was uploaded on
February 17, 2020 at 04:59:49 UTC from IP address 65.102.118.161. Discord
subsequently made a report to the National Center for Missing and Exploited Children
(NCMEC). In the tip, Discord provided the suspected contraband, which it indicated had
been available to the public and previously viewed by an employee of Discord, and
included identifying information about the reported user. Specifically, that the reported
user’s Screen or User Name was The_Awkward_Package#3491 and the upload IP
address was 65.102.118.161.

7. A subsequent warrant showed that IP Address 65.102.118.161 was assigned
to XXX Ba’adah Point Road, Neah Bay, Washington (hereinafter, the RESIDENCE) on
February 17, 2020 at 04:59:49 UTC, and listed the billing name as BRIAN
BUCKINGHAM. The matter was then referred to the Washington State Patrol’s (WSP)

' Discord is an electronic services provider and a messaging platform where millions of users from around
the world connect with each other through chat, voice, and video. Discord has both a desktop (PC, Mac,
and Linux) application and a mobile (10S, Android) application, and the service can also be accessed
from the website directly. In order to use the services, users need to create an account by selecting a
username. Once they have made their account, users can create a server and invite their friends to join
it—generally to play online games and discuss games by voice, text, or video—with an invite link, or
they can join an existing server. Servers are broken down into sub-categories or “channels” where users
can connect with each other by either chatting or calling. Discord differs from other social platforms like
Twitter or Reddit, in that people come to Discord to build private, invite-only groups. All conversations
are opt-in. Users can also communicate through direct messages, or private chats, created between | and
10 users.

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Missing and Exploited Children’s Task Force (MECTF)’ and assigned to WSP Detective
Bradley Beattie.*

8. In March 2020, Detective Beattie reviewed the image file included by
Discord in the CyberTip Report. The undersigned has not viewed the image and is
relying on Detective Beattie’s description. The image shows what appears to be a
prepubescent child under the age of 10 years* and an adult male.* Detective Beattie noted
that the child was wearing only a white t-shirt, pulled above the hips. The image shows
the child bending over what appears to be a toilet. Detective Beattie observed the adult
male is standing behind the child in the image. Based on the angle of the camera,
Detective Beattie observed that the adult male’s face was not visible in the image. The
adult male’s pants and underwear are pulled down below the adult male’s groin, exposing
his erect penis. The adult male’s left hand is resting against the left portion of the child’s
buttocks, and the adult male’s left ring, middle, and index finger are placed on the left
portion of the child’s buttocks. In the image, the adult male’s index finger is pulling the
left portion of the child’s buttocks to the left, exposing the child’s anus. The adult male’s
left thumb appears to be pressing the upper portion, or head, of his erect penis towards

the child’s exposed anus. The adult male’s erect penis is covering the child’s genitals,

> The goal of the task force is to recover juveniles being sexually exploited and build prosecutable cases
against those responsible for exploiting them.

3 WSP Detective Bradley Beattie has over nine years of law enforcement experience, and is currently
assigned to the WSP Missing and Exploited Children Task Force specifically in the High Tech Crime
Unit. Detective Beattie has been assigned to MECTF since February 16, 2020. During Detective Beattie’s
law enforcement career, he has been involved in a variety of investigations and attended multiple
trainings, including training on all aspects of narcotics and sex crime investigations. Detective Beattie has
participated in several online enticement operations targeting individuals who use the internet to find
children to sexually abuse. These operations have resulted in multiple arrests and convictions, as well as
the recovery of children who were being sexually abused.

* Detective Beattie determined the child was a minor, and likely under the age of 10 years old, due to the
small stature of the child’s buttocks, legs, and back in comparison to the toilet seat and the adult male’s
hand and erect penis, and due to the lack of any visible hair on the child’s legs or in and around the
child’s anus.

* Detective Beattie determined the erect penis was that of an adult male because of the presence of pubic
hair, the size of the erect penis in comparison to the child’s body, and the size of the adult male’s left
hand in comparison to the body of the child.

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making it difficult to identify the sex of the child. The child’s face and head are not
visible.

9. On April 2, 2020, a King County Superior Court Judge issued a search
warrant to Discord for all account information and content related to the Screen/User
Name The Awkward _Package#3491. The search warrant was restricted to all subscriber
and account information and content between January 17, 2020 and March 17, 2020 (one
month prior to the CyberTip upload and one month past the CyberTip upload).

10. On May 20", 2020, Detective Beattie received the requested information
from Discord related to the Screen or User Name The Awkward Package#3491. In his
review of that search warrant return, Detective Beattie located multiple “selfies” of
BUCKINGHAM that had been sent in various chat groups and in direct messages.

11. Detective Beattie determined that all of the selfies sent from
The Awkward Package#3491 were of BUCKINGHAM based on a comparison with
BUCKINGHAWM’s Facebook and DOL photographs. One of the selfies Detective Beattie
believed to be of BUCKINGHAM included BUCKINGHAM holding a piece of paper
with the following written out: “2/16/20 520pm PST AAM Map Gateway
The Awkward Package#3491”. Detective Beattie determined that BUCKINGHAM
appeared to be the only user associated with and utilizing the direct message chats for the
The_Awkward_Package#3491 Discord account.

12. The Discord search warrant return also revealed a direct message chat
between BUCKINGHAM and a second Discord user (hereinafter, “Discord User #2). A
review of the chat showed that between January 21, 2020 and January 25, 2020,
BUCKINGHAM sent nine videos and eight photographs to Discord User #2.

13. Among the videos were at least two videos investigators identified as
including depictions of a minor (hereinafter, “MV1”’). Investigators later identified MV1
as a male relative of BUCKINGHAM’s and learned MV1’s date of birth. Based on the
time stamp displayed on the videos, investigators determined that MV1 was likely twelve
years of age at the time the videos were taken. Furthermore, from the videos themselves,

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Detective Beattie estimated that MV1 was a prepubescent male between 10 to 14 years of
age because of MV1’s small body stature, lack of muscular development, lack of pubic
hair, and lack of penis or testicular development. Below are descriptions of two of the
videos:

a. On January 21, 2020, BUCKINGHAM sent a 12 second video,
forensically labeled 6690224423 105396738 669041525463973888
6690415 19432433684 videoO (hereinafter, “VIDEO 1”), to Discord User #2. VIDEO 1
appears to be taken by some sort of stationary security camera located in a corner of the
depicted bedroom and includes a time stamp of “2016-01-09 05:02:32 AM Sat.” In the
video, BUCKINGHAM is laying on his back on a bed to the left of the room.
BUCKINGHAM is naked with a white sheet covering his upper body, but his face is
exposed. BUCKINGHAM is naked from the waist down, and his erect penis is exposed.
BUCKINGHAWM’s eyes appear to be closed. MV1 is laying down on his back on a
second bed to the right of the room. MV1 has head phones on and is holding what
appears to be a cell phone in his left hand. MV1 appears to be looking at the cell phone in
his hand, MV1 has his underwear pulled down, has his erect penis in his right hand, and
he is masturbating. During the video, BUCKINGHAM turns his head to the left, away
from MV1, and grasps his erect penis with his right hand. BUCKINGHAM begins to
masturbate.

b. On January 21, 2020, BUCKINGHAM sent a four second video,
forensically labeled 6690224423 105396738 669044050715738141
669044044973867028 videoO (hereinafter, “VIDEO 2”), to Discord User #2. VIDEO 2
appears to be taken by the same security camera with a “2016-01-09 05:02:47 AM Sat”
time stamp. BUCKINGHAM is laying on his back on the bed to the left of the room with
his head facing towards the wall to the left. BUCKINGHAM is grasping his erect penis
with his right hand and masturbating. MV1 is laying down on his back on the bed to the
right of the room. MV1 has head phones on and is holding what appears to be a cell
phone in his left hand. MV1 has his underwear pulled down and is holding his semi-erect
penis in his right hand. MV1 appears to be looking at the cell phone. MV1 is not actively
masturbating.

14. In the direct message chat between BUCKINGHAM’s
The Awkward Package#3491 Discord account and Discord User #2 the following
relevant direct message exchanges were taking place amongst the above videos and
photographs being sent (messages sent and received that were not pertinent to the

investigation were removed):

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January 21, 2020:

The_Awkward_Package#3491: “I am nude ALL the time at home. My security
cams catch some unexpected stuff every now and then, especially when I am
sleeping”

Discord User #2: “Who is that in backwards of second video”

Discord User #2: “Background”

The_Awkward_Package#3491: [MV1]

Discord User #2: “Anymore vids of him watching you jerk off”
The_Awkward_Package#3491: “Yes”

Discord User #2: “Could i have a vid”

The_Awkward_Package#3491: sends a video of BUCKINGHAM masturbating
Discord User #2: “No of him watching you jerking off”
The_Awkward_Package#3491: “Ok”

The_Awkward_Package#3491: “Yesss u like that? I have lots”

Discord User #2: “Yup”

The_Awkward_Package#3491: “Ok give me a sec, take a pic/vid with your
underwear off”

Discord User #2: Sends image that Detective Beattie was unable to view

The_Awkward_Package#3491: Sends VIDEO 1.

Discord User #2: “Do you jerk of with him”

The_Awkward_Package#3491: “Not on purpose. I jerk off in my sleep and I
think I saw some security vids when we happened to at same time”

Discord User #2: “Would you like to jerk off with him”

The Awkward Package#3491: “I am very comfortable being naked and to me
jerking off is a completely natural and healthy thing that guys do. Haven’t really
thought about it tho”

Discord User #2: “You should try it and send it to me”

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Discord User #2: “I agree its natural”
The_Awkward_Package#3491: “Make a vid for me if you jerking off”
The_Awkward_Package#3491: Sends VIDEO 2

January 24, 2020:

Discord User #2: “Did you jerk of with [MV1] yet”

Discord User #2: “Off”

The_Awkward_Package#3491: “Not consciously”

The_Awkward_Package#3491: “Sleeping tho”

Discord User #2: “Try it”

The_Awkward_Package#3491: “U think he’d like it?”

Discord User #2: “Probably if he’s comfortable enough to jerk off in front of

you”

The_Awkward_Package#3491: “Yeah. There nothing were uncomfortable with

each other I guess”

The_ Awkward _ Package#3491: “Never really thought bout it”

Discord User #2: “Sure r u guys both home”

The_Awkward_Package#3491: “No he’s at [REDACTED] unfortunately”

Discord User #2: “What porn does he watch”

The Awkward Package#3491: “Not sure. Saw him looking at some of@my gay

mags and bi mags”

15. As Detective Beattie continued his review of the information from Discord
related to Screen/User Name: The_Awkward_ Package#3491, he located additional direct
message chats with other users in which BUCKINGHAM sent more than 100 images and
videos. In the Discord text exchanges, BUCKINGHAM agreed with other users about

having a sexual interest in children as young as toddlers, animals, incest, and “forced.”®

° Based on my training and experience, “forced” most often indicates rape or simulated rape.
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16. . BUCKINGHAM’s chats also indicated that he had an interest in trading
and sharing images of content depicting what BUCKINGHAM and the users he
communicated with were “into.”’ The majority of the videos and images sent by
BUCKINGHAM during these direct message chats were of BUCKINGHAM’s penis and
BUCKINGHAM masturbating; however, BUCKINGHAM sent at least five videos to
other users that depicted sexual acts involving children. One video was another depiction
of BUCKINGHAM and MV1 masturbating. The other videos do not appear to be of
BUCKINGHAM or MV 1 but included sexual acts involving prepubescent children,
including penetration of the anuses of prepubescent children by what appeared to be adult
male penises.

17. In a Discord chat conversation with another user, (hereinafter, Discord User
#3), between February 1, 2020 to February 9, 2020, BUCKINGHAM sent two
screenshots of what Detective Beattie identified as likely a prepubescent male in a video
chat with BUCKINGHAM. The minor appeared to be naked and in the shower in those
screenshots, but his lower body was not exposed. In addition to depicting the minor, the
screenshots contain an image of BUCKINGHAM in the upper left corner.* In one of the
screenshots, BUCKINGHAM is holding up his t-shirt, exposing his torso and erect penis
to the prepubescent male on the video chat.

18. | Between February 16, 2020 to February 17, 2020, BUCKINGHAM

engaged in a direct message chat with another user (hereinafter, Discord User #4), who

’ For instance, Detective Beattie identified a Discord chat conversation on February 16, 2020, between
BUCKINGHAM and another user. In the chat, BUCKINGHAM stated, “Sorry I love to trade/share what
u into.” The other user expressed an interest in forced and incest. BUCKINGHAM then sent a photograph
of himself and MV 1. Detective Beattie identified BUCKINGHAM and MV 1 depicted in the photograph
and described that BUCKINGHAM was sitting next to MV1. BUCKINGHAM’s penis is exposed and
MV 1 is wearing only underwear. Both appear to be playing a video game. After sending the image to the
other user, BUCKINGHAM described his familial relation to MV1. The other user asked
BUCKINGHAM if BUCKINGHAM wanted to “rpe my dau.” BUCKINGHAM responded that he did
and the other user stated “No period yet.”

® Based on his training and experience, Detective Beattie determined that the images were screenshots
from a video chat that had occurred between BUCKINGHAM and the prepubescent male while the
prepubescent male appeared to be in the shower.

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identified him/herself as being thirteen years of age. During the chat, which was sexual in
nature, BUCKINGHAM sent numerous selfie images to Discord User #4, including
several images of BUCKINGHAM’s exposed penis, and a ten second video of
BUCKINGHAM masturbating.

19. On June 2, 2020, I appeared telephonically before United States Magistrate
Judge Theresa L. Fricke and obtained search warrants for the RESIDENCE and
BUCKINGHAM’s person.

20. Joined by a team of state, local and tribal law enforcement, I executed those
warrants in the morning of June 10, 2020. Upon entering the RESIDENCE, law
enforcement encountered BUCKINGHAM and asked if he would agree to speak with law
enforcement.

21. | WSP Sergeant Carlos Rodriquez and I then interviewed BUCKINGHAM.
Sergeant Rodriquez advised BUCKINGHAM of his constitutional rights, and confirmed
that he understood them and was still willing to speak with us. In a recorded interview,
BUCKINGHAM then provided the following information. He acknowledged using
Discord. He stated that his current personal account is “Gamer Daddy” but admitted to
having multiple Discord accounts. When asked, BUCKINGHAM stated he had used the
username The Awkward Package on other social media accounts, but was not certain if
he had used it on Discord. BUCKINGHAM initially denied sharing videos or images of
MV1 or other prepubescent minors on Discord, but later conceded to maybe “trading”
sexually explicit materials with other users based on what the other users were “into.”
BUCKINGHAM denied, as an adult, having any sexual contact with minors.

22. An FBI victim specialist spoke with MV1’s mother, who confirmed MV1’s
date of birth and that MV1 is a minor.

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CONCLUSION

23. Based on the foregoing, I respectfully submit there is probable cause to
believe that BRIAN BUCKINGHAM has committed the crimes of Production of Child
Pornography in violation of Title 18, United States Code, Section 2251(a), (e), and
Receipt or Distribution of Child Pornography in violation of Title 18, United States
Code, Section 2252(a)(2).

Colleen B. Sanders, Complainant
Special Agent, FBI

Based on the Complaint and Affidavit sworn to me, and submitted electronically,
the Court hereby finds that there is probable cause to believe the Defendant committed
the offenses set forth in the Complaint.

DATED this 11th day of June, 2020.

hres. Sry

THERESA L. FRICKE
United States Magistrate Judge

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